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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION

NORTHERN VIRGINIA CITIZENS
ASSOCIATION,

                              Plaintiff,
       v.                                           No. 22-cv-03336-DKC
FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                              Defendants.



                                     [PROPOSED] ORDER

       Upon consideration of Plaintiff’s unopposed motion to consolidate this case with the

pending case of Maryland Chapter of the Sierra Club, et al. vs. Federal Highway

Administration, 22-cv-2597-DKC (D. Md., filed Oct. 11, 2022), it is hereby

       ORDERED, that Plaintiff’s motion to consolidate is GRANTED; and it is further

       ORDERED that Case 22-cv-2597 and 22-cv-3336 are consolidated, and it is further

       ORDERED that all future filings in these consolidated matters be filed in Case 22-cv-

2597, and it is further

       ORDERED that Plaintiff coordinate any motions practice or briefing in these

consolidated cases with the plaintiffs in Case 22-cv-2597.

       SO ORDERED, this __ day of _______, 2023



                                      _________________________________
                                      Hon. Deborah Chasanow
                                      United States District Court Judge
